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AARON J. ROMANO, P.C. 

BY: Aaron J. Romano, Esquire 

Bar Id .: 20100
55 Woodland Avenue
Bloomfield, CT 06002
Tel: (860) 286-9026

                              UNITED STATES DISTRICT COURt 

                             DISTRICT COURT OF CONNECTICUT 


UNTED STATES OF AMERICA                               Criminal No. 3:14cr228(JBA)


                  v.


JASON CALABRESE                                       SEPTEMBER 21,2015

                                            AFFIDAVIT

           I, Jason Calabrese, being duly sworn hereby depose and state as follows:

1.         I am over the age of eighteen (18) years and understandithe obligations of an oath.

2.         On May 5, 2015 , I plead guilty to Count One of the Indiictment, charging me with

conspiracy to commit bank fraud in violation of 18 USC § 1349.

3.         The date of the offense was on or about November 21, 2006 .

4.         I was not a licensed a mortgage originator until 2010.

5.         Prior to 2010, including the date of the offense, I was only registered as a loan

officer.

6.         No specialized skill or education was necessary to register as a loan officer; in fact,

my full-time profession was as a firefighter.




                                            Exhibit A-1
7.     The first time I received any education relating to mortgages was to obtain my

mortgage loan originator license was in 2010. I completed this coursework in April of201 O.

8.     I took the national exam to obtain my license on October 1, 2010.

9.     I took the state exam to obtain my license on December 29, 2010.

10.    I was required to take continuing education courses to maintain my license as a

mortgage loan originator.

11.    Up until that point, I generally received applications for loans from people seeking

loans by email, fax, or in writing. Sometimes I filled them out, other times, the people

seeking loans would fill them out. They were general in nature,and required the applicant

to list their contact information, employment, assets and liabilities. Some loans required

the applicant to state their income.

12.    The banks would approve or disapprove loan applicants by internal formulas. I had

nothing to do with the banks' decisions to approve or disapprove someone for a loan.

       I declare under penalty of perjury under the laws of the United States of America

that the foregoing is true and correct.




STATE OF CONNECTICUT
                                                  SS.   Bloomfield
COUNTY OF HARTFORD

Subscribed and sworn to before me this 21 st day of September 2015


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                                                        Commissioner of Superior Court
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                                          Exhibit A-2
